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                  IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                         Plaintiff,

           v.

THE FEDERAL TRADE COMMISSION,
                                                            Case No. _______________
– and –

LINA M. KHAN, REBECCA KELLY
SLAUGHTER, and ALVARO BEDOYA,
in their official capacities as Commissioners
of the Federal Trade Commission,

                         Defendants.


                      [PROPOSED] ORDER ON PLAINTIFF’S
                     MOTION FOR PRELIMINARY INJUNCTION

          This matter is before the Court on Plaintiff’s Motion for Preliminary Injunction

enjoining Defendants from taking further action in the Federal Trade Commission

(“FTC”) administrative proceeding In the Matter of Facebook, Inc., FTC File No. C-

4365, against Meta Platforms, Inc. (the “FTC Proceeding” or “Proceeding). Having

considered Plaintiff’s Complaint, Memorandum of Points and Authorities, and

declarations thereto, and the argument of counsel, the Court has determined the

following:

          (1)    this Court has subject matter jurisdiction over Plaintiff’s constitutional

challenges to the FTC Proceeding grounded in the unconstitutional structure of the FTC;

and

          (2)    Plaintiff is entitled to its requested relief because the factors for granting a

preliminary injunction weigh in its favor:
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               i.       Plaintiff has established a likelihood of success on the merits of its

claims that (a) the dual role of prosecutor and judge afforded to the FTC in administrative

proceedings initiated or reopened pursuant to the Federal Trade Commission Act (the

“FTC Act”) violates the Fifth Amendment’s Due Process clause; (b) the FTC

Commissioners’ exercise of executive authority while insulated from removal by the

President violates Article II; (c) the unfettered delegation by Congress of authority to the

FTC to assign disputes to administrative adjudication over adjudication before an Article

III court violates Article I; (d) the FTC’s adjudication of private rights violates Article III;

and (e) the FTC Proceeding violates Meta’s Seventh Amendment right to a jury trial;

              ii.       Plaintiff has demonstrated that, absent a preliminary injunction, it

must respond to an order to show cause issued by the FTC in the FTC Proceeding by

December 11, 2023, and will suffer irreparable harm in the form of a “here-and-now”

injury from being subjected to the unconstitutional Proceeding; and

             iii.       Plaintiff has further demonstrated that an injunction will not

substantially injure Defendants and that the public interest favors the injunction of

unlawful agency action.

        On this ____ day of ____, 2023 ORDERED that Plaintiff’s Motion for

Preliminary Injunction is GRANTED.

        It is further ORDERED:

        Defendants, together with their officers, agents, servants, employees, and

attorneys are to refrain from prosecuting and pursuing the FTC Proceeding against

Plaintiff or any other action against Plaintiff until such time as this case is fully and

finally resolved.




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                                            ______________________
                                            United States District Judge


  Dated: _________, 2023




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                         LCvR 7(k) Parties to Be Notified

The Federal Trade Commission
600 Pennsylvania Avenue NW
Washington, D.C. 20580

Lina M. Khan
c/o The Federal Trade Commission
600 Pennsylvania Avenue NW
Washington, D.C. 20580

Rebecca Kelly Slaughter
c/o The Federal Trade Commission
600 Pennsylvania Avenue NW
Washington, D.C. 20580

Alvaro Bedoya
c/o The Federal Trade Commission
600 Pennsylvania Avenue NW
Washington, D.C. 20580




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